                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TENNESSEE
                                     CHATTANOOGA DIVISION


   LINDA J. NORWOOD,                                 )
                                                     )      Case No. l:23-cv-lll
           Plaintiff,                                )
                                                     )
   and                                               )
                                                     )
   THE ORANGE GROVE CENTER,INC                       )
                                                     )
          P I ainti   fflC ounter-D efendant,        )
                                                     )
   VS                                                )
                                                     )
   DISABILITY RIGHTS TENNESSEE,                      )
                                                     )
          D efendant/C ounter-P lainti ff.           )

                        PLAINTIF'F'S' RESPONSE TO DEFENDANT'S MOTION
                       FOR JUDGMENT ON THE,         INGS ON ALL CLAIMS

          Plaintiffs, Linda J. Norwood ("Ms. Norwood") and The Orange Grove Center, Inc.

   ("Orange Grove") (collectively, "Plaintiffs"), pursuant to Fed. R. Civ. P. Rule l2(c) and Local

   Rule 7.1, through counsel, submit their Response to Defendant Disability Rights Tennessee's

   ('oDRT's") Motion for Judgment on the Pleadings on All Claims ("Motion"), and respectfully

   request that the Court deny DRT's Motion for the reasons stated herein.

                                      I.        SUMMARY OF ARGUMENT

          The dispute between the parties is limited to the narrow issue of how broad DRT's authority

   is pursuant to the Developmental Disabilities Assistance and Bill of Rights Act of 2000 ("DD

   Act"), 42 U.S.C. $$ 15001-15115 (2000). Plaintiffs do not challenge the constitutionality of the

   DD Act; DRT's authority as Tennessee's Protection and Advocacy agency (hereinafter "P&A");

   DRT's authority to investigate, pursuant to the DD Act, complaints of neglect or abuse against




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   individuals with intellectual developmental disabilities (IDD); nor DRT's authority, generally, to

   access a service provider's records pursuant to the DD Act to investigate neglect or abuse. Rather,

   Plaintiffs' claim is limited to whether DRT has acted within its statutory authority, taking into

   consideration the circumstances and the rights of the relevant parties involved.l DRT argues that

   Plaintiffs are in violation of federal and state law for even challenging DRT's authority, and that

   administrative regulations grant it expanded authority that is not subject to judicial review.

   Plaintiffs contend that, although DRT's investigative authority may be informed by administrative

   interpretation of the DD Act, courts, not agencies, should decide 'all relevant questions of law'

   arising on review of agency action, and set aside any such action inconsistent with the law as they

   interpret it, pursuant to Loper Bright Enters. v. Raimondo, Nos. 22-451,22-1219,2024 IJ.S.

   LEXIS 2882, at *33 (June 28, 2024) (emphasis in original).

          Thus, DRT's request for judgment on the pleadings pursuant to Fed. R. Civ. P. Rule 12(c)

   should be denied as to all claims because material issues of fact exist regarding (1) whether DRT's

   unaccompanied and unannounced access to John Doe ("Mr. Doe") is "reasonable" pursuant to the

   DD Act; (2) whether DRT is authorized to access irrelevant and unnecessary records of Mr. Doe

   from Orange Grove; (3) whether DRT has the right to access records of other residents from

   Orange Grove; and (4) whether Orange Grove violated the DD Act when DRT refused its offer of

   access to Mr. Doe's records. Because material issues of fact exist as to each matter, DRT is unable

   to demonstrate that it is entitled to judgment as a matter of law, and its Motion should be denied.




   I Plaintiffs filed a Joint Motion for Leave to File Amended Complaint and Stay Motion for
   Judgment on the Pleadings on All Claims on July 9,2024. [Doc. No. 55.] This Court has permitted
   Plaintiffs the opportunity to file a proposed Amended Complaint by July 18,2024 for the Court's
   consideration. [Doc. No. 56.]

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                                                 il.   FACTS

             This case concerns the care and treatment of Mr. Doe, an adult male who is deaf, has IDD,

   and resides at Orange Grove. [Doc. No. l-1, Page ID # 14-15.] Orange Grove is a Tennessee

   nonprofit corporation that serves adults and children with IDD, and includes residential facilities.2

   Mr. Doe's duly appointed conservator is Ms. Norwood, a Tennessee-licensed attomey. lld., Page

   ID # 14.] Ms. Norwood has served as Mr. Doe's conservator since she was appointed by the

   Chancery Court of Hamilton County, Tennessee on July 17,2017. [Id.l

             On approximately February 3,2023, Ms. Norwood was contacted via telephone by an

   unnamed individual regarding an alleged investigation into Mr. Doe's care at Orange Grove. [Doc.

   No. 1-1, Page ID # l4.l Upon questioning by Ms. Norwood, the individual identihed himself as

   an investigator with DRT, anorganization unknown to Ms. Norwood at the time. The investigator

   requested that Ms. Norwood consent to the release of Mr. Doe's records from Orange Grove to

   DRT in furtherance of DRT's investigation. Ms. Norwood refused to consent atthat time to a

   release of Mr. Doe's records, explaining that she believed that any investigation into Mr. Doe's

   care was being appropriately investigated by the Tennessee Department of Intellectual and

   Developmental Disabilities (DIDD), Orange Grove, and other entities. [Doc. No. 1-1, Page ID #

   1s.l

             On February 17,2023, Orange Grove received its first demand for records from DRT

   relatedtoMr.Doe. [Doc.No. 13-1,PagelD#115.] ItisimportanttoobservethatDRT'sdemand

   did not specifu any details about an alleged complaint, nor did the demand state that DRT had

   determined that probable cause existed to believe that Mr. Doe was in serious or immediate

   jeopardy. Id. The demand further stated, arguably inaccurately, that DRT had made a good faith



   2
       See https ://www.orangegrovecenter.org/

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   effort to reach Mr. Doe's conservator, but that she had failed to act on Mr. Doe's behalf. 1d DRT

   requested the following records from Orange Grove:

                  "[t]he most recent Independent Support Plan (ISP) and any
                  Interdisciplinary Team Meeting (IDT) notes that have occurred or
                  addendums since the ISP, including all assessments used for the
                  purposes of the ISP, such as speech language (SLP), physical
                  therapy (PT), occupational therapy (OT), and behavioral therapy
                  (BA), etc.; all daily notes by direct support staff for 2022 and2023;
                  all incident reports for 2022 and2023; and medical records for 2022
                  and 2023, including nurse's notes, provider notes, hospital
                  discharges, medication administration record sheets (MARS),
                  mental health services, etc."

   [Doc. No. 13-1, Page ID # 115.]

          On February 23,2023, DIDD sent Orange Grove a letter advising that DIDD had issued its

   final investigative report and had determined that an allegation of abuse of Mr. Doe was

   unsubstantiated. [Doc. No. 1 - 1 , Page ID # 27 .] DIDD considered the matter closed. Id. OnMarch

   3, 2023, Orange Grove's personnel responded to DRT that Orange Grove did not believe that it

   was required to send DRT Mr. Doe's documents based upon the demand received, as stated, by

   DRT. [Doc. No. 13-1, Page ID # 118.] Further, Orange Grove informed DRT that the DIDD

   provided funding for Mr. Doe's care and that he had a court-appointed conservator. Id. Orange

   Grove encouraged DRT to reach out to the DIDD, the conservator, and/or the Hamilton County

   Chancery Court, or in the alternative DRT could reach out to Orange Grove's Chief Executive

   Officer, Tera Roberts (o'Ms. Roberts") directly. [Id ]

          On March 6,2023, Ms. Norwood received a letter from DRT, alleging it received a report

   of abuse andlor neglect of Mr. Doe, requested Ms. Norwood sign a release allowing DRT to obtain

   "all" of Mr. Doe's Orange Grove records as well as give any and all employees of DRT and Orange

   Grove permission to talk to each other about the content of Mr. Doe's records-without the

   mention of any time or place limitation-and asserted that it could "get [Mr. Doe's] records


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   without [Ms. Norwood's] assistance." [Doc. No. l-1, Page ID ##16,31.] onMarch 8,2023,

   while Ms. Norwood was still evaluating her response to DRT's request for access to Mr. Doe's

   Orange Grove's records, two investigators from DRT visited Mr. Doe at his quarantined home at

   Orange Grove unannounced, without Ms. Norwood's knowledge and/or consent, and presumably

   attempted to interview Mr. Doe. [Doc. No. 13-1, Page ID ## 130, 136.] On March 10, 2023, Ms.

   Norwood copied Orange Grove on a letter to DRT refusing consent to the release of Mr. Doe's

   records as requested by DRT because the alleged complaint had been investigated and was found

   to be unsubstantiated. [Doc. No. 24-1, Page ID # 187.] Nonetheless, on March 15, 2023, DRT

   sent a second records demand to Orange Grove. [Doc. No. 13-1, Page ID # 127.] Similar to the

   first request, DRT provided no specifics regarding the complaint nor informed Orange Grove that

   DRT had determined that there was probable cause to believe that Mr. Doe was being or had been

   neglected or abused, even after visiting Mr. Doe. Id. On March 17,2023, Orange Grove's

   personnel responded consistently with Orange Grove's March 3,2023 reply. fId.,PageID # 127.1

          On March 22,2023, DRT sent a third demand to Orange Grove, this time through DRT's

   legal counsel, explaining that DRT's records access authority permitted DRT access to records

   independent of any other agency's determination or a conservator's consent. lld.,Page ID # 130-

   32.] More importantly, this letter was the first time DRT stated that it had determined that DRT

   had probable cause to believe that Mr. Doe was or had been subjected to neglect or abuse at Orange

   Grove, and the first time that DRT provided any details regarding the scope of any alleged

   complaints. [Doc. No. l3-1, Page ID # 130-32.]

          Ms. Roberts replied to DRT's request directly and immediately that same day, providing

   information about Mr. Doe and his situation, particularly that he did not use American Sign

   Lanaguage (ASL) to communicate, but had a unique communication system. fld.,Page ID # 136.1




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   In her email response, Ms. Roberts welcomed additional suggestions and input from DRT on how

   best to care for Mr. Doe and his needs, and offered access to a visual inspection of Mr. Doe's

   records at Orange Grove. lldl Ms. Roberts also invited DRT to attend one of Mr. Doe's team

   meetings to discuss his care and needs:

                  If DRT would like to be a part of a team meeting you would be
                  welcome to participate. With his and his conservator's consent, your
                  staff could talk to him and his supports and hear first hand where we
                  are with our planning and attempts to support his needs. You could
                  also provide any suggestions or input.

                  I further invite you to schedule a time with me and I will sit with
                  you and [Mr. Doe's] records so you can read them. If you find my
                  offers for a collective team meeting and/or visual review of his
                  record to satisfu your request, please provide a few date/time options
                  and we will schedule the meeting.

   Id. In a rather callous response to Orange's Grove invitation, DRT responded by email dated
   March 22,2023, ffirmatively refusing Ms. Roberts' offer to inspect the records or meet with Mr.

   Doe, his conservator, and his care team at Orange Grove. Instead, DRT demanded that Mr. Doe's

   records, as requested by DRT, be sent to DRT by March 24,2023. [Doc. No. 13-1, Page ID #

   135.1 Orange Grove did not send the records.

          Thereafter, on March 27 , 2023, DRT informed Orange Grove that it would be sending an

   investigator to copy on the morning of March 29,2023 all the documents requested, or in the

   alternative, Orange Grove could provide DRT with a copy. [Doc. No. 13-1, Page ID # 140.] Ms.

   Roberts promptly informed DRT that she was unavailable on March 29,2023, and that the records

   would not be "produced," meaning copied and provided, to DRT. [Id.,Page ID # 145.] Contrary

   to DRT's assumption [Doc. No. 13, Page ID # 54], Orange Grove never rescinded its consent to

   allow DRT access to Mr. Doe's records at Orange Grove, nor access to Mr. Doe or the staff at

   Orange Grove to assist in DRT's investigation. Orange Grove did not receive a request from DRT




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   to reschedule the appointment or to meet with Orange Grove personnel at another time. Instead,

   on April 21, 2023, DRT sent a response to Ms. Roberts' March 27,2023 letter attaching a draft

   complaint naming Ms. Roberts and Orange Grove as defendants in a lawsuit for failure to send

   copies of Mr. Doe's records to DRT. [Doc. No. l-1, Page ID # 37-56.] DRT demanded that Mr.

   Doe's records be produced by April 27,2023. Id Ms. Norwood was not named as aparty. Id.

           On April 27,2023, Ms. Norwood filed a Verified Complaint and Request for Restraining

   Order and Temporary Injunction ("Complaint") against both DRT and Orange Grove in the

   Hamilton County Chancery Court, seeking a determination of the relative rights of the parties in a

   declaratory judgment action. [Doc. No. 1-1, Page lD# 17.] On May 9,2023,DRT filed aremoval

   Notice pursuant to 28 U.S.C. $ laal(a). On May 18,2023, DRT filed its crossclaim against

   Orange Grove on the basis that Orange Grove refused to produce Mr. Doe's records and seeking

   an injunctive order from this Court requiring Orange Grove to produce such records, as well as

   ordering Orange Grove to allow DRT access to records of other unidentified individuals residing

   at Orange Grove. [Doc. No. 13-0.] On May 24,2023, Orange Grove filed a Motion to Remand.


   [Doc. No. 19.] In response, DRT filed a Motion to Realign the Parties, arguing that Ms. Norwood

   and Orange Grove had the same interests. [Doc. No. 23.] On March 18, 2024, DRT hled a

   supplement to its original crossclaim against Orange Grove, adding additional factual allegations

   concerning another alleged complaint. [Doc. No. 44j OnMarch 19,2024, the Court denied the

   Motion to Remand and granted the Motion to Realign the Parties. [Doc. No. 45.] Orange Grove

   filed its Answer to DRT's crossclaim, now considered a counterclaim with the realignment, on

   April 9, 2024. [Doc. No. 48.] DRT now seeks a judgment on the pleadings on all claims asserted.

   [Doc. Nos. 53-54.1




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                                     M.      LAW & ARGUMENT

   A.     Motion for Judgment on the Pleadings Standard

          DRT brings its Motion pursuant to Fed. R. Civ. P. 12(c), which provides that "[a]fter the

   pleadings are closed-but early enough not to delay trial-aparty may move for judgment on the

   pleadings." The pleadings are "closed" when the defendant has filed an answer. See Dunn-Mason

   v. JP Morgan Chase Bank Nat'l Assoc., No. I 1-cv-13419,2013 U.S. Dist. LEXIS 113693 *, *2

   (E.D. Mich. Aug. 13,2013). "For purposes of a motion for judgment on the pleadings, all well-

   pleaded material allegations of the pleadings of the opposing party must be taken as true, and the

   motion may be granted only if the moving party is nevertheless clearly entitled to judgment. A

   motion brought pursuant to Rule 12(c) is appropriately granted when no material issue of fact

   exists and the party making the motion is entitled to judgment as a matter of law." Coyer v. HSBC

   Mortg. Servs., Inc.,70l F.3d 1 104, ll07-08 (6th Cir. 2012) (internal citations omitted); see also

   Yajing Liu v. Rock Ridge Ins. Co., 662 F . Supp. 3d 793,796 (8.D. Tenn. 2023).

          A district court reviews a Rule 12(c) motion under the same standard as a motion brought

   under Fed. R. Civ. P. Rule 12(b)(6), construing the complaint in the light most favorable to the

   plaintiff, accepting all of the complaint's factual allegations as true, and determining whether the

   plaintiff undoubtedly can prove no set of facts in support of the claims that would entitle plaintiff

   to relief. Jelovsek v. Bredesen, 545 F.3d 431,434 (6th Cir. 2008). "[T]he purpose of a motion

   under Rule 12(c) is to test the sufficiency of the complaint, without requiring the parties to engage

   in expensive and time-consuming discovery and without reaching the merits of the case." Hira v.

   N.Y. Life Ins. Co., No. 3:12-cv-373,2014 U.S. Dist. LEXIS 70861 *,*17-21 (E.D. Tenn.May 23,

   2014) (quoting Marsilio v. Vigluicci,924 F. Supp. 2d 837,847 (1.{.D. Ohio 2013)) (emphasis

   added). To survive a motion for judgment on the pleadings, a plaintiff s "factual allegations in the

   complaint need to be sufficient to give notice to the defendant as to what claims are alleged, and

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   the plaintiff must plead 'sufficient factual matter' to render the legal claim plausible." Fritz v.

   Charter Twp of Comstock, 592 F .3d 7 18, 722 (6th Cir. 20 I 0) (quoted by Stoutamire v. Dep't of

   Rehab. & Corr., No.2:10-cv-00645,2010 U.S. Dist. LEXIS 139648, at *4 (S.D. Ohio Jan. 13,

   2010)).

             Additionally, Ms. Norwood and DRT filed competing requests for injunctive relief-that

   Orange Grove either be enjoined from producing, or conversely, enjoined from denying, access to

   Mr. Doe's records as sought by DRT. [Doc. No. 1-1; Doc. No. 13.] DRT analyzes the merits of

   each request, in its memorandum in support, under the standard four-part test for a preliminary

   injunction. [Doc. No. 54,PagelD # 441-47;450-53.] For purposes of DRT's Motion, however,

   the Court is limited to reviewing the sufficiency of the pleadings to determine if a cognizable claim

   has been stated, not the full merits of the claim. Hira, 2014 U.S. Dist. LEXIS at *17-21 (E.D.

   Tenn. May 23,2014). Furthermore, Federal Rule of Civil Procedure Rule 65 requires that a

   hearing on a motion for a preliminary injunction occur. Fed. R. Civ. P. 65. Consequently, granting

   either party injunctive relief at this juncture, without the benefit of a hearing, would be

   inappropriate. See Univ. of Tex. v. Camenisch,4l5 U.S. 390,395 (1981).

   B.     A P&A's Authority Pursuant to the DD Act

          An agency of the federal government is only empowered to act within the statutory

   guidelines establishing its power; "any action exceeding its statutory authority is void."

   Tenaska Wash. Partners, L.P. v. United States,34 Fed. Cl. 434, 440 (1995) (quoting Office of

   Personnel Mgmt. v. Richmond,496 U.S. 414, 424 (1990)). It is well-established that aP&A has

   broad and independent authority, pursuant to the DD Act, to conduct investigations of

   suspected abuse or neglect of individuals with IDD. 42 U.S.C. $$ 15041 et seq.; Disability

   Law Ctr. of Alaska, Inc. v. Anchorage Sch. Dist.,581 F.3d 936,938-39 (9th Cir.2009); Conn.

   Office of Prot. & Advocacyfor Persons with Disabilities v. Hartfurd Bd. of \duc.,464F.3d,229,

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    241-42 (2d Cft. 2006); see also Disability Rights Tex. v. Hollis, 103 F.4th 1058, 2024 U.S. App.

    LEXIS 13654, *9 (5th Cir.2024), and Alabama Disabilities Advocacy Program v. J.S. Tarwater

    Developmental Ctr.,97 F.3d 492, 497 (l lth Cir. 1996). Such broad authority, however, comes

    with guardrails, and a P&A must act within those guardrails to protect the best interests of the

    individual(s). Those guardrails are explicit in the DD Act, and in various courts'

    interpretations of the DD Act, as illustrated below.

           1.     Purpose & Prerequisites of the DD Act

           In enacting the DD Act and establishing o'watchdogs" for historically vulnerable
    individuals, Congress intended that a person with IDD would be treated individually and that

    "any assistance to such individuals should be provided in an individualized manner, consistent

    with the unique strengths, resources, priorities, concerns abilities, and capabilities of such

    individuals." 42 U.S.C. $ 15001(c)(2) (emphasis added). Congress also recognized that

    "individuals with developmental disabilities and their families are the primary decisionmakers

    regarding the services and supports such individuals and their families receive, ... and, play

    decisionmaking roles in policies and programs that affect the lives of such individuals and

    their familiesf.]" 42 U.S.C. $ 15001(c)(3) (emphasis added). Congress sought to implement

    a system that created greater oversight, protections and advocacy for individuals with
    disabilities, while also encouraging the individual's "self-determination, independence,

    productivity, and integration and inclusion in all facets of community life[.]" 42 U.S.C. $

    15001(bX1). In balancing these interests, Congress established prerequisites that must be

    satisfied, and that constrain, a P&A's investigative authority and conduct.

           The primary sections of the DD Act that are at issue in this matter are 42 U.S.C. $

    15043(a)(2XH), (I), and (J), which state:



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          (a) System required. In order for a State to receive an allotment under subtitle B or this
          subtitle [42 USCS $$ 15021 et seq. or 15041 et seq.f-

                 (2) such system shall-

                         (H) have access at reasonable times to any individual with a
                         developmental disability in a location in which services,
                         supports, and other assistance are provided to such an
                         individual, in order to carry out the purpose of this subtitle
                         [42 USCS $$ 1s041 et seq.l;

                         (I) have access to all records of--

                                 (iii) any individual with a developmental disability,
                                 in a situation in which-

                                         (I) the individual has a legal guardian,
                                         conservator, or other legal representative;

                                         (II) a complaint has been received by the
                                        system about the individual with regard to the
                                        status or treatment of the individual or, as a
                                        result of monitoring or other activities, there
                                        is  probable cause     to believe that such
                                        individual has been subject to abuse or
                                        neglect;

                                        (III) such representative has been contacted
                                        by such system, upon receipt of the name and
                                        address of such representative;

                                        (IV) such system has offered assistance to
                                        such representative to resolve the situation;
                                        and

                                        (V) such representative has failed or refused
                                        to act on behalf of the individual;



                         (r)

                                (i) have access to the records of individuals described
                                in subparagraphs (B) and (I), and other records that
                                are relevant to conducting an investigation, under
                                the circumstances described in those subparagraphs,
                                not later than 3 business days after the system makes
                                a written request for the records involvedf.]

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    42 U.S.C.S. $ 15043 (LexisNexis, Lexis Advance through Public Law I 18-66, approved July 2,

    2024, with a gap of Public Law 118-63) (emphasis added).

           2               Issues of Fact Exist as
                   Exceeded its Statutory Authority

           DRT asserts that it has the right to investigate alleged neglect or abuse of Mr. Doe at Orange

    Grove, and more importantly, to access Mr. Doe and his records, with virtually no limitations on

    its authority. DRT also asserts, in its counterclaim against Orange Grove, that it has rights to other

    records of unidentified individuals at Orange Grove beyond its investigation related to Mr. Doe

    (this claim is addressed in subsection E below). Plaintiffs contend that, at a minimum, material

    issues of fact exist as to whether, as a matter of law, DRT has met the prerequisites of the DD Act,

    or if it has stepped beyond the bounds of the authority granted pursuant to the DD Act.

                   a.      Reasonableness of DRT's Access to Mr. Doe

           The DD Act permits a P&A "access at reasonable times to any individual with a

    developmental disability in a location in which services, supports, and other assistance are

    provided to such an individualf.l" 42 U.S.C. $ 150a3(a)(2XH). There is no explicit requirement

    in the DD Act that a P&A request or acquire consent from a legal representative before it gains

    "access" to an individual. See Conn. Office of Prot. & Advocacyfor Persons with Disabilities,

    464 F.3d at 243 (2nd Cir. 2006). There is also no explicit requirement that access be

    unannounced or unscheduled. Equipfor Equal., Inc. v. Ingalls Mem. Hosp.,292 F. Supp.2d

    1086, 1099 (N.D. Ill. 2003). The DD Act only requires that such access be at a reasonable time in

    a location where services, supports, and other assistance are provided to the individual. 1d

           Other federal courts reviewing the issue of access to individuals under the DD Act have

    found, based on the facts of those cases, that certain parameters were necessary when balancing

   the interests of the parties. See Equipfor Equal., lnc.,292 F Supp.2d at 1100 ("It is appropriate to


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    require more strict requirements for access to individual patients than to the facilities

    themselves."); Miss. Prot. & Advocacy Sys., Inc. v. Cotten,929 F.2d 1054, 1057 (5th Cir. 1991)

    (affirming time and place restrictions on access as a means to minimize interference with

    programs); Penn. Prot. & Advocacy, Inc. v. Royer-Greaves Sch. for Blind, No. 98-3995, 1999

    U.S. Dist. LEXIS 4609, *25-26 (8.D. Penn. Mar. 24, 1999) (advance notice for access to

    patients was reasonable); Mich. Prot. & Advocacy Service, Inc. v. Miller,849 F. Supp. 1202,

    1204,1209 (W.D. Mich. 1994) (referring determination of parameters of reasonable access to

    facilities to two special masters); and Robbins v. Budke,739 F. Supp. 1479, 1487 (D.N.M.

    1990) (finding that twenty-four notice to speak with a patient is reasonable).

           Ms. Norwood seeks similar judicial review based on the particular circumstances of this

    case and Mr. Doe's unique communication abilities. On March 8,2023, at least two male DRT

    investigators and possibly more came to Mr. Doe's home at Orange Grove-unannounced,

    unscheduled, and seeking access to him-and subsequently entered his residence. At the time,

    Mr. Doe was in a quarantined residential home with other residents due to the threat posed by

    COVID-19 to vulnerable individuals. [Doc. No. 13-1, Page ID # 136.] Unfortunately, DRT has

    not provided this Court with an account of what occurred during its visit with Mr. Doe.

   Nonetheless, with DRT's investigation ongoing, there is every reason for Ms. Norwood to believe

   that DRT may seek access to Mr. Doe again in order to encourage him to engage in potentially

    emotionally-taxing "legal, administrative, [orJ other... [unknown] remedies." 42 U.S.C. $

    15043@)(2XAXi) (emphasis added). For this reason, Ms. Norwood seeks judicial review of

   whether DRT's access to Mr. Doe was being conducted at a reasonable time and within any Court-




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    determined guardrails.3 DRT recognizes that the DD Act, in its grant of access to an individual,

    requires that access be sought at a reasonable time and place. [Doc. No. 54,Page ID # 440.] DRT

    does not address, however, whether its actions in how and when it approached Mr. Doe were

    reasonable, although the reasonableness of DRT's conduct is the main concem of Ms. Norwood's

    Complaint.

                     b.      DRT's Access to Mr. Doe's Records

              In order to access Mr. Doe's records, DRT is required to show that it has complied with

    the prerequisites of the DD Act. In this instance, DRT must show the following: (1) Mr. Doe has

    a conservator; (2) DRT received complaints about Mr. Doe's care at Orange Grove, or it has

    probable cause to believe he has been abused or neglected; (3) DRT contacted Ms. Norwood; (4)

    DRT has offered assistance to Ms. Norwood to resolve the situation; and (5) Ms. Norwood has

    failed or refused to act on behalf of the individual. See 42 U.S.C. $ 150a3(a)(2)(I). Plaintiffs admit,

    for purposes of this Motion, that DRT has satisfied the first three requirements; they challenge,

    however, that DRT either offered assistance to Ms. Norwood to resolve the situation, or that Ms.

    Norwood failed or refused to act on behalf of Mr. Doe. Moreover, even if DRT has shown that it

    has satisfied all five requirements, DRT's access to Mr. Doe's records is limited by subsection J

    of the DD Act, which only allows for records that "are relevant to conducting an investigation."

    42 u.s.c. $ 1s0a3(a)(2)(J).

              Orange Grove denied DRT's first two requests for Mr. Doe's records because DRT's

    requests did not satisfu the DD Act. The requests did not state that DRT had received a complaint

    concerning Mr. Doe's care or treatment, nor did they inform Orange Grove that DRT believed it




    3
        If permitted to file one, Plaintiffs' Amended Complaint will state allegations specific to DRT's
    access to Mr. Doe on March 8,2023, or any other time that may have occurred.

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    had probable cause to believe that Mr. Doe was in serious jeopardy. Moreover, while DRT had

    called Ms. Norwood and requested that she consent to disclosure of Mr. Doe's records, it did not

    offer Ms. Norwood any assistance in resolving a specific situation or complaint. [n fact, Ms.

    Norwood was aware that DIDD was investigating the matter and did not see, at that time, that DRT

    could offer her any assistance in resolving an unsubstantiated allegation of abuse. Lastly, as will

    be addressed in Section D below, neither Orange Grove nor Ms. Norwood considered Ms.

    Norwood's lack of consent to the unauthorized and expansive records request of DRT to be a

    failure or refusal to act on Mr. Doe's behalf.

           It was not until Ms. Roberts received correspondence from DRT dated March 22,2023,

    that DRT arguably satisfied the first three requirements of the DD Act. The very day that Ms.

    Roberts received this request from DRT, she offered DRT access to certain records of Mr. Doe

    and much more. As detailed herein, DRT rejected Orange Grove's offer of access and assistance

    in its investigation. Consequently, DRT, not Orange Grove, impeded the federal mandate to

    investigate alleged abuse, and further failed the DD Act's overarching directive that DRT "pursue

    legal, administrative, and other appropriate remedies or approoches to ensure the protection of,

    and advocacy for, the rights of such individuals. 42 U.S.C. $ 15043(2Xa)(i) (emphasis added).

    C.     Plaintiffs' Request for Judicial Review of DRT's Authority and Conduct is
           Permitted and Appropriate

           In her Complaint, Ms. Norwood stated a declaratory judgment action seeking judicial

    review regarding the relative rights of the parties, as detailed above.a [Doc. No. 1-1.] DRT


    a
      Since the filing of Ms. Norwood's Complaint, DRT has removed this matter to this Court;
    achieved realignment of the parties; filed a counterclaim against Orange Grove; and
    supplemented that counterclaim. During the parties' Rule 26(f) planning meeting, Plaintiffs
    advised that they intended to seek leave to file an Amended Complaint in light of the removal,
    realignment of the parties, and DRT's additional claims. If permitted to amend their
    complaint, Plaintiffs will cure deficiencies in the Complaint, state additional factual
    allegations concerning the relief requested, and potentially add one or more causes of action.

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    contends in its Motion that Ms. Norwood's requested relief itselfviolates federal and state law

    because it impedes DRT's investigation and because the relief she requests does not exist.

    [Doc. No. 54, Page ID ## 439,441.] DRT generally cites the DD Act as authority for its

    argument, but provides no specific provision or any case authority in support of this legal

    conclusion.

           Various federal district and circuit courts have determined that judicial review of a

    P&A's determination of probable cause and the scope of its investigative conduct may be

    warranted, and that crafting equitable relief is within the court's purview. Ms. Norwood has

    already cited above several federal cases providing judicial review and equitable relief related

    to reasonable access to individuals. More generally, in Disability Rights Tex.,l03 F.4th at *9

    (5th Cir. 2024), the dispute between the parties hinged precisely on a determination of how broad

    the grant of authority to a P&A is under the DD Act related to access to records. Likewise, in

    Disability Law Ctr. of Alaska, Inc., supra, the circuit court reviewed whether general complaints

    about school conditions created probable cause that every student has suffered abuse. Id.,58l

    F.3d at 938. In Conn. Office of Prot. & Advocacy for Persons with Disabilities, 464 F.3d at

    243 (2nd Cir. 2006), the circuit court reviewed a P&A's authority to review an individual's

    records in comparison to their access to individuals. Additionally, in Disability Rights Ohio

    v. Buckeye Ranch, lnc.,375 F.Supp.3d 873, 891 (S.D. Ohio 2019), the district court assessed

    whether there was sufficient evidence to support a P&A's probable cause determination of

   neglect and abuse. Lastly, even the case of Disability Law Ctr. v. Riel cited by DRT in its

   memorandum, concerns judicial review of whether the DD Act allows a P&A to obtain an




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    individual's records over the objection of the legal representative of the individual. Disability Lcnu

    Ctr. v. Riel,l30 F. Supp. 2d294 (D. Mass. 2001).

           Thus, there is ample case authority to support the legal conclusion that it is permissible

    for Plaintiffs to seekjudicial review of DRT's determination of probable cause, whether DRT

    has met the prerequisites of the DD Act, the reasonableness of DRT's conduct in interviewing

    Mr. Doe without a request to and/or notice to his conservator or Orange Grove, and whether

    DRT's expansive request for Mr. Doe's records-not to mention the records of all Orange

    Grove clients-are necessary for DRT to appropriately conduct its investigation. DRT has

    not shown a willingness to consider input from Mr. Doe's conservator, care facility, care

    providers, other monitoring agencies, or even the Court that administers Mr. Doe's

    conservatorship. DRT's blind insistence on being provided with copies of an expansive set

    of records from Orange Grove is less about Mr. Doe's well-being and his needs, and more

    about DRT's desire to bully Ms. Norwood and Orange Grove into submission. A

    determination of the parties' rights, as well as the opportunity for the Court to craft equitable

    relief that protects Mr. Doe, is warranted.

    D.     The Court Should Exercise its Independent Judgment in Deciding Whether DRT
           has Acted Within its Statutory Authority

           DRT claims that it derives its broad authority, in addition to the DD Act, from

    administrative regulations promulgated by the Department of Health and Human Services

    (DHHS). [Doc. No. 54, Page ID # 441.] These regulations, published in the Code of Federal

    Regulations at 45 C.F.R. $$ 1386.25-1386.27, expand a P&A's authority to access an

    individual, access to records, and even the definition of what constitutes a record.

           DHHS' interpretation of the DD Act through its regulations, while informative, is not

    dispositive of DRT's rights. This is necessarily so after the United States Supreme Court's


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    ruling last month in Loper Bright Enters. v. Raimondo, Nos. 22-451,22-1219,2024U.5. LEXIS

    2882 * (June 28, 2024). In Loper, the Supreme Court held that the Administrative Procedure

    Act (APA) requires courts to exercise their independent judgment in deciding whether an

    agency has acted within its statutory authority, and fuither held, in overturning Chevron

    U.S.A. Inc. v. Natural Resources Defense Council, Inc. 467 U.S. 837 (1984), that courts must

    not defer to an agency's interpretation of the law "even if some judges might (or might not)

    consider the statute ambiguous," because "[i]n the business of statutory interpretation, if it is

    not the best, it is not permissible," and the best interpretation is the "'reading the court would

    have reached' if no were agency involved." Loper Bright Enters.,2024U.S. LEXIS, at*45

    (June 28, 2024). Courts, not agencies, should decide "all relevant questions of law" arising on

    review of agency action, and set aside any such action inconsistent with the law as they interpret

    it. Id. at 33. Furthermore, the Supreme Court noted that the APA prescribes no deferential
    standard for courts to employ in answering those legal questions. Id.

           In this case, DRT relies almost entirely upon DHHS's interpretation of the DD Act to

   justi$ its conduct in interviewing Mr. Doe without a request or notice to his conservator or

    Orange Grbve, its access to Mr. Doe's records, the expansiveness of its requests forrecords

    that are not limited in scope or time to the alleged complaints of neglect and/or abuse at

   Orange Grove, for copies of these records rather than visual inspection, and for the permanent

   injunctive relief sought against Orange Grove.

           DRT relies upon 45 C.F.R. S 1326.27(b) for the proposition that it has a right to "reasonable

   unaccompanied access to individuals with developmental disabilities at all times necessary to

   conduct a full investigation of an incident of abuse or neglect." Interestingly, subsection 27(b)(1)

   provides that "[s]uch access shall be afforded upon requesf, by the P&A system when: (i) [a]n



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    incident is reported or a complaint is made to the P&A system; (ii) the P&A system determines

    that there is probable cause to believe that an incident has or may have occurred, or (iii) the P&A

    system determines that there is or may be imminent danger of serious abuse or neglect of an

    individual with a development disability." 45 C.F.R. 5 1326.27(b). DRT never requested, from

    Orange Grove, access to Mr. Doe on the basis of a complaint or probable cause. DRT visited Mr.

    Doe unannounced and unaccompanied on March 8,2023, two weeks before it notified Orange

    Grove on March 22,2023, that it had complaints or probable cause to believe that an incident of

    neglect or abuse had occurred. Apparently, DRT believes that it can also create its own rules. This

    is exactly why Ms. Norwood requested judicial review of DRT's authority.

           DRT attempts to reframe the present case as simply an issue of guardian consent,

    relying upon 45 C.F.R $$ 1326.25(aX3) for its contention that Ms. Norwood has failed or

    refused to act on Mr. Doe's behalf because she refused to consent to a release of Mr. Doe's

    information when requested by DRT. [Doc. No. 54, Page ID # 441-42.] 45 C.F.R $$

    1326.25(a)(3xiii) expands the DD Act by permitting access to records where the conservator

    "has failed or refused to provide consent on behalf of the individual." (Emphasis added). DHHS'

    expansion of the DD Act to equate withholding consent with failure or refusal to act is not based

    on congressional intent or legislative history. Only in one instance does the word "consent" appear

    in Section 15043 of the DD Act, and that provision allows a P&A to obtain access to records

    without consent from another party only in the instance where the P&A determines there is

    probable cause to believe that the health or safety of the individual is in serious and immediate

   jeopardy, or in any case of death of an individual with a developmental disability.

    42 U.S.C. $ 150a3(a)(2)(JXiD. Neither of those circumstances is applicable to this case.




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           In support of its extension of authority, DRT directs the Court to Disability Law Ctr. v.

    Riel, 130 F. Supp. 2d 294 (D. Mass. 2001), wherein the district court concluded that 'othe better

    interpretation of [$150a3](a)(2xlxiii) is that the P&A is entitled to obtain access to the records

    necessary for investigation so long as the other statutory prerequisites are met, regardless of the

    wishes of the guardian." Riel, 130 F. Supp. 2d at 301. DRT argues that the present case and Riel

    are analogous, and that this Court should adopt the reasoning of Riel that a legal guardian cannot

    block a P&A's access to records. Plaintiffs, on the other hand, argue that the Court should use its

    own judgment in reviewing whether DRT's actions are consistent with the DD Act, and set aside

    any such action inconsistent with the law as this Court interprets it.

           Riel is not binding upon this Court, has never been cited with approval by any court within

    the Sixth Circuit, and no federal appellate circuit court has ever addressed the specific question

    presented in Riel regarding whether the DD Act-not interpretive administrative regulations-

    authorizes a P&A to obtain records over the objection of the individual's legal representative. Cf.

    Conn. Office of Prot. & Advocacy for Persons with Disabilities, supra, at.243 (distinguishing

    between the DD Act's records access provisions and access to individuals provision, and declining

    to read a parental-consent provision into the access to individuals statutory section as is provided

    in the records access provision).

           Nevertheless, for purposes of this motion, the Court need not go as far as the analysis of

    statutory interpretation in Riel, but merely look to whether DRT met the other statutory

    prerequisites. For the reasons explained above, DRT has not met the other statutory

    prerequisites-it did not offer to assist Ms. Norwood with the specific situation related to the

    complaint DRT received, and Ms. Norwood has not refused or failed to act. In fact, Ms. Norwood

    took an affrrmative action on behalf of Mr. Doe by filing the present lawsuit and seeking judicial



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    review of DRT's actions. Moreover, DRT did not provide Orange Grove with the information

    related to complaints or probable cause until March 22, 2023, and when it did, Ms. Roberts

    immediately responded to DRT with a compromise on how best to meet all the parties' respective

    needs and concerns consistent with Congress' intent in enacting the DD Act.

    E.     DRT is Not Entitled to Judgment as a Matter of Law Because DRT Refused
           Orange Groveos Offer of Access

           DRT's counterclaim that Orange Grove refused DRT access to Mr. Doe's records and,

    therefore, has violated federal law is meritless. Orange Grove denies that it refused DRT

    access to Mr. Doe's records in violation of the DD Act. [Doc. No. 48.] Orange Grove has

    sought to protect the competing interests of its resident, its resident's conservator, DRT, and

    its own policies, in assisting DRT with its investigation. DRT, however, has frustrated the

    process by refusing to act reasonably and cooperatively with Orange Grove during DRT's

    investigation, [Doc No. 13-1, Page ID # 130-36.], and by seeking records that are not

    necessary to its investigation.

            District courts in the Sixth Circuit recognize a P&A's authority to access records.

    However, those same courts have indicated that there are limits to that authority. Again, a

    P&A must meet the prerequisites of the DD Act before it may access an individual's records.

           DRT's initial requests for records to Orange Grove were not in compliance with the

   DD Act. These requests did not provide a single detail about any complaint received about

   Mr. Doe, did not indicate that there was probable cause to believe that Mr. Doe was being or

   had been subjected to neglect or abuse, or that Mr. Doe was in any serious or immediate

    danger. [Doc. No. 13- 1 .] In response, Orange Grove advised DRT to address the maffer with

   Mr. Doe's conservator, the Hamilton County Chancery Court, or the DIDD. [Doc. No. l3-

    11.




                                                  21.

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           Not until March 22,2023, did DRT advise Orange Grove that it had determined that it

    had probable cause to believe that Mr. Doe was being or had been subjected to neglect and

    abuse at Orange Grove. [Doc. No. 13-1, PageID #130.] In that correspondence, DRT advised

    that two DRT investigators had already unilaterally met with Mr. Doe-without notice to

    DRT or Ms. Norwood-and had also received all the investigative records from the DIDD's

    investigation of the alleged incidents. 1d

           Ms. Roberts responded that same day, inviting DRT to affange a meeting with Orange

    Grove to meet with Mr. Doe, his conservator, his care team, and visually inspect his records

    that were relevant to his ongoing care needs at Orange Grove. [Doc. No. 13-1, Page ID #

    135.] DRT acknowledges that Orange Grove responded in this manner. [Doc. No. 54, Page

    ID # 449.1 What DRT fails to acknowledge, however, is that in response to Ms. Roberts, DRT

    rejected Orange Grove's assistance to help DRT investigate the complaints and even provide

    input and suggestions on Mr. Doe's care and treatment. [Doc. No. 13-1, Page ID # 130.]

           Orange Grove's offer, contrary to what DRT alleges in its counterclaim, was never

    rescinded. Instead of accepting Ms.Roberts' offer, DRT demanded copies of the records be

    provided to it. [Doc. No. 13-1, Page ID # 135.] Subsequently, DRT demanded that Orange

    Grove allow DRT to copy the records with less than 48 hours' notice. [Doc. No. 13-1, Page

    ID # 140.1 Ms. Roberts advised that she was unavailable to meet on the date unilaterally

    selected by DRT. [Doc. No. 13-1, Page ID # I45.] Based upon this communication, and

   nothing more, DRT states that it assumedthat Ms. Roberts reneged on her offer of even allowing

    DRT to visually inspect John Doe's records. [Doc. No. 13, Page ID # 106-07.] Thereafter,

   DRT sent Ms. Roberts a copy of a lawsuit naming Orange Grove. [Doc. No. l-1, Page ID

   #37-56.1 Ms. Norwood's declaratory judgment and injunctive relief action seeking the


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    judicial review of the Court that governs Mr. Doe's conservatorship, followed on the same

    day that DRT demanded Orange Grove produce Mr. Doe's records.

              The Court "need not accept as true legal conclusions or unwarranted factual

    inferences." Yajing Liu,662 F. Supp. 3dat796 (citing Mixonv. Ohio,193 F.3d 389,400 (6th Cir.

    1999). DRT has presented no evidence that Orange Grove refused to provide access to necessary

    records that would enable DRT to conduct its investigation. Instead, DRT makes an unfounded

    assumption that Orange Grove refused to cooperate because Ms. Roberts immediately notified

    DRT that she was unavailable atadate and time set unilaterally by DRT. This assumption should

    not be the basis for a ruling, as a matter of law, that Orange Grove violated the DD Act.

              Moreover, DRT is not entitled to all of the records that it has requested pursuant to the

    DD Act. In the DD Act, a "record" is defined as follows:

                     (1) a report prepared or received by any staff at any location at which
                     services, supports, or other assistance is provided to individuals with
                     developmental disabilities ;

                     (2) a report prepared by an agency or staff person charged with
                     investigating reports of incidents of abuse orneglect, injury, or death
                     occurring at such location, that describes such incidents and the
                     steps taken to investigate such incidents; and

                     (3) a discharge planning record.

    42 U.S.C. $ 150a3(c). DRT, however, has requested documents that fall outside of this

    definition. [Doc. No. 13-1, Page ID # 115.] It has also requested copies of documents already

    produced by DIDD, and unnecessary and irrelevant to its investigation. For these reasons, a

    material issue of fact exists concerning whether Orange Grove's conduct warrants dispositive

    relief.

              ln Michigan Prot. & Advoc. Serv., Inc. v. Evans, No. 09-12224,2010 U.S. Dist. Ct.

    103622 * (E.D. Mich. Sept. 30, 2016), the district court stated that it is in the public interest



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    that P&As have access to the "necessary records to ensure individuals with disabilities are not

    suffering from abuse or neglect." Id. at *5 (emphasis added). Similarly, in Disability Rights

    Ohio v. Buckeye Ranch, Inc., supra, the district court, although allowing the P&A access to

    records as part of an expanded investigation, limited the records sought "to a reasonable time

    period." Disability Rights Ohio,375 F.Supp.3d at 891. This approach is consistent with other

    cases outside the Sixth Circuit where district courts have crafted equitable relief that meets

    the intent of the DD Act and provides a P&A access to records needed for its investigation.

    See e.g., Conn. Office of Prot. & Advocacyfor Persons with Disabilities, suprq.

    F.     DRT is Not Authorized to Access Other Records of Orange Grove Residents
           Without a Complaint or Probable Cause
           In its counterclaim against Orange Grove, DRT requests that this Court grant
    preliminary and, permanent injunctive relief that enjoins Orange Grove from denying DRT

    access to "other records of individuals with disabilities served by Orange Grove." [Doc. No.

    13, Page ID #109.] As discussed above, the DD Act requires, at a minimum, that a P&A

    receive a complaint or determine that it has probable cause before it can access an individual's

    records. 42 U.S.C. $ 15043(aX2Xt); Conn. Office of Prot. & Advocacy for Persons with

   Disabilities, supra at244. The DD Act does not authorize aP & A access to every resident's

    records in a facility on the basis of a complaint received about one specific individual. See

   Penn. Prot. & Advocacy, Inc., supra, at *25-28 (finding that the P&A had not demonstrated

    any basis entitling them to access to the records of all of the students); see also Disability

   Rights Ohio, supra, at *890 (concluding that "when seeking records that relate to a facility or

    other individuals in the facility who were not the initial subjects of the report of abuse or

   neglect, a P & A is required to articulate to the facility the bases of its finding of probable




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    cause to believe there is a systemic problem or other specific individuals have been subjected

    to abuse of neglect.").

           Here, DRT has neither alleged nor shown that it has received a complaint or has

    probable cause to believe that any other individual residing at Orange Grove has been

    subjected to neglect and./or abuse, or that the health and safety of other residents of Orange

    Grove are in serious jeopardy. [Doc. No. 13; Doc. No. 44.] Rather, DRT alleges that the

    complaints received have been specific to Mr. Doe. Ud ] DRT's request is an inappropriate

    expansion of its original investigation of complaints against Mr. Doe. Additionally, DRT fails

    to offer any legal authority that supports its contention that it is entitled to a permanent

    injunction requiring Orange Grove to give it access to other records of unidentihed individuals

    at Orange Grove. [Doc. No. 54.] Because DRT has failed to meet the prerequisites of the DD

    Act in order to access records of other individuals, DRT's request for preliminary and
    permanent injunctive relief as to "other records of individuals" should be denied.

                                       IV.     CONCLUSION

           Material issues of fact exist regarding whether DRT has acted within the statutory

     authority of the DD Act in its access of Mr. Doe, in demanding copies of Mr. Doe's records

     from Orange Grove, and in seeking access to other records of individuals at Orange Grove

     beyond Mr. Doe. For the reasons stated herein, Plaintiffs respectfully request that the Court

     deny DRT's Motion for Judgment on the Pleadings on All Claims.


                                      Respectfully submitted,

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                                     CERTIFICATE OF SERVICE

              I hereby certi$ that a copy of this pleading was filed electronically. Notice of this filing
    will be sent by operation of the Court's electronic filing system to all parties indicated on the
    electronic filing receipt. All other parties will be served as indicated below. Parties may access
    this filing through the Court's electronic filing system.


                   This 15th day of July,2024




                                                      /s/April H. Sawhill
                                                    April H. Sawhill




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